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                                           Judgment Pg 1 of 2

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------
In Re:
                                                                    Case No. 11-10219 (MEW)
KENNETH IRA STARR, et al.,
                                                                    Chapter 7

                                    Debtors.                        Jointly Administered
-----------------------------------------------------------------   Substantively Consolidated
ROBERT L. GELTZER, as Trustee of
the Estate of KENNETH IRA STARR, et al.,

                                   Plaintiff,                       Adv. Pro. No. 14-02067 (MEW)

                  -against-

         SLEEPY HUDSON LLC,

                                    Defendant.
-----------------------------------------------------------------

                                          DEFAULT JUDGMENT


         The above-captioned adversary proceeding was commenced by the filing on July 25,

2014, and serving on August 28, 2014, a Second Summons and Notice of Pretrial Conference

and a Complaint (collectively, the “Complaint”) upon Sleepy Hudson LLC (the “Defaulting

Defendant”); and the Defaulting Defendant having failed to answer or move with respect to the

Complaint; and the Defaulting Defendant having failed to appear at the pre-trial conference held

in this Court on September 8, 2014 (the “Pretrial Conference”); and the Defaulting Defendant’s

default having been noted on the record at the Pretrial Conference; and on October 16, 2014,

Robert L. Geltzer, Chapter 7 trustee (the “Trustee”) of Kenneth Ira Starr, et al., the above-

captioned debtors (the “Debtors”), submitted a Declaration pursuant to Rule 55 of the Federal

Rules of Civil Procedure, as made applicable by Rule 7055 of the Federal Rules of Bankruptcy

Procedure, and Rule 7055-1 of the Local Rules of the Bankruptcy Court for the Southern District

of New York, for the issuance of Certificate of Default against the Defaulting Defendant [ECF

6]; and on December 5, 2014, the Clerk of the Court entered a Certificate of Default against the

Defaulting Defendant [ECF 7]; and the amount sought in the Complaint was for the sum certain

of $200,000; and upon the April 1, 2015 Affidavit of Vinay Agarwal, senior manager at Davis


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Graber Plotzker & Ward, LLP, the Court-retained accountants to the Trustee, annexed to the

Trustee’s Notice of Presentment; and it appearing that due notice having been given, and no

objection to the relief sough herein having been interposed; and no further notice being

necessary nor required; it is hereby

         ORDERED, ADJUDGED AND DECREED that judgment be entered in favor of the

Trustee of the estate of Kenneth Ira Starr, et al. and against the Defaulting Defendant in the sum

of $200,000.00; and it is further

         ORDERED, ADJUDGED AND DECREED that the Trustee has all of the rights and

remedies afforded to a judgment creditor by law; and it is further

         ORDERED, ADJUDGED AND DECREED that the Trustee may enforce this judgment

against the Defaulting Defendant, as allowed by applicable law.


Dated: New York, New York
       May ___ , 2015




                                               ____________________________________
                                               HONORABLE MICHAEL E. WILES
                                               UNITED STATES BANKRUPTCY JUDGE




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